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UNITED STATES DISTRICT COURT ~ FILED 7
ORTHERN DISTRICT OF OHIO
N STRIC MAR 28 2018
CLERK, US, DISTRICT COURT,
RYAN D. MALONE NORTHERN OS TOWN
Petitioner,
Gase No. 1/7-CV-02290-BYP
vs. Judge: Benita Y. Pearson
UNITED STATES OF AMERICA \. og 48 - |
Respondent.

 

 

MOTION SEEKING LEAVE TO AMEND PETITIONER'S SECTION 2255 PETITION
PURSUANT TO Fed. R. Civ. P. 15(c)(1)(A) OR ALTERNATIVELY
TO ADD A SUPPLEMENTAL PLEADING UNDER RULE 15(d)

 

Now Comes the petitioner, RYAN D. MALONE, pro-se, and respectfully ask this
honorable court to allow him to either Amend his original § 2255 petition to add
an additional issue pursuant to either Fed. R. Civ. P. 15(c)(1)(A), or Fed. R.
Civ. P. 15(d). The reason that support this request are as follows.

As an initial matter, petitioner must state that he is not attempting to re-
place any argument that he originally made in his § 2255 motion. Petitioner is
only attempting to add an additional issue that relates directly to a sentencing
error that happened as a result of petitioner being resentenced on November 15th,
2016. Bucause petitioner is not an attorney, he is not sure if this issues fits
correctly under Rule 15(c) or 15(d). But petitioner ask that this pleading be
construde liberally (see Pilgrim v. Littlefield, 92 F.3d 413, 416 (6th Cir. 1996)),
and read "to raise the strongest argument that they suggest." See Brownell v.
Krom, 446 F.3d 305, 310 (2nd Cir. 2006).

1. Federal Rule of Civil Procedure 15(c)(1)(A) allows a petitioner to file an
amendment that "relates back to the date of the original pleading when: (A) the
law that provides the applicable statute of limitations allows relation back."
In this case, petitioner's case did not become final until September 12, 2017,
the date of the decision on petitioner appeal. See United States v. Malone, 2017
U.S. App. LEXIS 22584 (6th Cir. 2017). Therefore, this amendment is timely and

can be considered as relating back to the original petition as an addition to.

 

and not a replacement of, any argument made therein.

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In the event that this motion is not proper under any of the rules above, I
request that this court hear this motion under Fed. R. Civ. P. 15(d) as a Supple-
mental pleading, And, grant any additional relief that this court deems just and

proper.

Respectfully Submitted:

Ryan D. Malone, pro-se
Reg. No 30802-160

CL Gilmore

P.O. Box 6000
Glenville, WV 26351

 

CERTIFICATE OF SERVICE

I certify that I have placed a copy of this Motion in the institutional Legal

Mail, for delivery by the United States Postal Service to the United States Dis-
trict Court for the Northern District of Ohio, in a sealed envelope, with postage
pre-paid, and an addition copy was sent to all parties whose names and addresses
day of March, 2018.

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appear below, on this Alo ;

Elliot Marrison

 

 

Assistant 0.5. A}orned EN Male
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Cleveland Ohio 44u3
